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 Liza M. Walsh
 Selina M. Ellis
 Christine P. Clark
 WALSH PIZZI O’REILLY FALANGA LLP
 Three Gateway Center
 100 Mulberry Street, 15th Floor
 Newark, New Jersey 07102
 Tel: (973) 757-1100

 Attorneys for Plaintiffs Teva Branded Pharmaceutical Products
 R&D, Inc., Norton (Waterford) Ltd., and Teva Pharmaceuticals USA, Inc.

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 TEVA BRANDED
 PHARMACEUTICAL PRODUCTS
 R&D, INC., NORTON (WATERFORD)
 LTD., and TEVA
 PHARMACEUTICALS USA, INC.,

                   Plaintiffs,
                                                Civil Action No. 23-cv-20964-SRC-
                                                              MAH
        v.
                                                       Electronically Filed
 AMNEAL PHARMACEUTICALS OF
 NEW YORK, LLC, AMNEAL
 IRELAND LIMITED, AMNEAL
 PHARMACEUTICALS LLC, and
 AMNEAL PHARMACEUTICALS INC.,

                   Defendants.



      PLAINTIFFS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF
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                             GLOSSARY OF TERMS
     Term                       Description
     The ’289 Patent            U.S. Patent No. 9,463,289 (Pl. Ex. 1)1
     The ’587 Patent            U.S. Patent No. 9,808,587 (Pl. Ex. 2)
     The ’808 Patent            U.S. Patent No. 10,561,808 (Pl. Ex. 3)
     The ’889 Patent            U.S. Patent No. 11,395,889 (Pl. Ex. 4)
     The Asserted Claims        Claims 1, 2, and 4–8 of the ’289 patent; claims 1,
                                2, 4–8, 11, and 12 of the ’587 patent; claims 1 and
                                27–29 of the ’808 patent; and claims 1–4 and 6 of
                                the ’889 patent
     The Asserted Patents       The ’289, ’587, ’808, and ’889 patents

     Inhaler Terms              Term 1: “An inhaler for metered dose inhalation”
                                (’289 patent, claim 1; ’587 patent, claims 1, 12)2
                                Term 4: “an inhaler” (’808 patent, claim 1)
                                Term 6: “a metered dose inhaler” (’889 patent,
                                claim 1)

     Canister Terms             Term 2: “medicament canister” (’289 patent,
                                claims 1, 2; ’587 patent, claims 1, 2, 12)
                                Term 7: “canister” (’889 patent, claim 1)




 1
   “Pl. Ex. __” refers to the numbered exhibits submitted with Plaintiffs’ Opening
 Claim Construction Brief (D.E. 116) (“Teva Br.”) and this brief. “Def. Ex. __” refers
 to the numbered exhibits submitted with Defendants’ Opening Claim Construction
 Brief (D.E. 117) (“Def. Br.”).
 2
   The term number refers to the number assigned to the disputed constructions
 provided in the Joint Claim Construction and Prehearing Statement (“JCCS”). See
 D.E. 111-1 at 6-8.
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  Term                       Description
  Dose Counter Terms         Term 3: “A dose counter for an inhaler” (’808
                             patent, claim 1)
                             Term 5: “An incremental dose counter for a
                             metered dose inhaler” (’889 patent, claim 1)

  Defendants                 Defendants Amneal Pharmaceuticals of New York,
                             LLC, Amneal Ireland Limited, Amneal
                             Pharmaceuticals LLC, and Amneal
                             Pharmaceuticals Inc.

  Teva                       Plaintiffs Teva Branded Pharmaceutical Products
                             R&D, Inc., Norton (Waterford) Ltd., and Teva
                             Pharmaceuticals USA, Inc.




                                       v
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I.         INTRODUCTION

           Each of the Asserted Claims recites an “inhaler” and a “dose counter.” The

     Asserted Patents describe the inventions as an “inhaler” with a “dose counter.”

     During prosecution, the applicant, examiner, and Patent Trial and Appeal Board

     described the inventions as comprising an “inhaler” with a “dose counter.” Despite

     those repeated express references to an inhaler with a dose counter, Defendants

     argue that the claims are not limited to an inhaler, but instead require only the various

     specific structures called out in the bodies of the claims—no matter whether those

     structures are incorporated into an inhaler, an injector pen, any other structure, or

     indeed, no additional structure at all. That effort is flatly inconsistent with the

     intrinsic record, which makes clear that the references to an “inhaler” and a “dose

     counter” for an inhaler provide essential structure and are necessary to give life,

     meaning, and vitality to the claims. The claims are limited to inhalers with a dose

     counter, and the Court should construe them in accordance with the claim language,

     specification, and prosecution history.

           Defendants’ fallback argument, that the claims should be construed not to

     require an active drug, is equally meritless. Even though the purpose of the dose

     counter is to accurately count the remaining doses of the active drug that are

     contained within the inhaler, Defendants argue the claims do not require the inhaler

     to contain any drug whatsoever. To Defendants, a “dose counter” need not count



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  doses of an active drug, and a “medicament canister” need never contain any

  medicament. That position is precisely the kind of attempt to construe individual

  claim terms by divorcing them from their context that Federal Circuit precedent

  forbids; it ignores the common meaning of the claims and the intrinsic record, and

  it, too, should be rejected. Instead, the Court should construe the Asserted Claims

  to require an inhaler containing an active drug capable of being dispensed via the

  inhaler to the lungs.

II.     ARGUMENT

        A.     The Inhaler Terms are limiting, and Teva’s proposed constructions
               should be adopted

        Each Asserted Claim explicitly requires an “inhaler.” Defendants’ arguments

  to avoid the import of this limitation—that the preambles are not limiting or that the

  term does not require the presence of a drug—should be rejected. For ease of

  reference, Teva will group the terms as Defendants have done in their Opening Brief.

  The disputed Inhaler Terms (with the numbering from the JCCS) are as follows:

         Term 1: “An inhaler for metered dose inhalation, the inhaler comprising
          . . . .” (’289 patent, claim 1 and ’587 patent, claims 1 and 12)

         Term 4: “A dose counter for an inhaler, the dose counter having . . . .”
          (’808 patent, claim 1)

         Term 6: “An incremental dose counter for a metered dose inhaler having
          a body arranged to retain a canister for movement of the canister relative
          thereto, the incremental dose counter having . . . .” (’889 patent, claim 1)

  For each term, the preamble is limiting and the Inhaler Term is an inhaler “containing



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 an active drug capable of being dispensed via the inhaler to the lungs.”

              1.     The disputed phrases in the preamble are limiting

       As explained in Teva’s Opening Brief, the preambles of the Inhaler Terms are

 limiting for multiple, independent reasons. Each of the three arguments Defendants

 raise for why the preambles of the Inhaler Terms are not limiting are wrong as

 applied to the claims here.

       First, Defendants argue—in passing in a single paragraph—that these

 preambles do not provide “essential structure” for the bodies of the claims and are

 not “necessary to give life, meaning, and vitality” to the claims. Def. Br. at 6

 (quoting Catalina Mktg. Int’l v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir.

 2002)). The parties agree that “[a claim] preamble is generally construed to be

 limiting if it recites essential structure or steps, or if it is necessary to give life,

 meaning, and vitality to the claim.” Proveris Sci. Corp. v. Innovasystems, Inc., 739

 F.3d 1367, 1372 (Fed. Cir. 2014) (quotation marks and citation omitted). The

 disagreement is whether these standards are met. As explained in Teva’s Opening

 Brief, the disputed preambles provide essential structure and meaning for the bodies

 of their respective claims. See Teva Br. at 10-13 (Inhaler Term 1); id. at 25-27

 (Inhaler Term 4); id. at 33-34 (Inhaler Term 6). The body of each independent claim

 of the Asserted Patents does not recite the complete structure of an inhaler. To the

 contrary, if one ignored the inhaler language, the structure recited in the body of the



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 claims would be incomplete. See Lemoine v. Mossberg Corp., No. 2020-2140, 2021

 WL 4199934, at *2 (Fed. Cir. Sept. 15, 2021) (affirming district court’s

 determination finding preamble limiting, in part, “because it provides important

 context for the nature and structure of the invention being claimed, and that without

 the context provided by the preamble it is difficult to make sense of the claims”);

 Rowe v. Dror, 112 F.3d 473, 478-79 (Fed. Cir. 1997) (finding phrase in the claim

 preamble limiting because it provided “structural limitations” for the claimed

 invention). Indeed, if the preambles were not limiting, then these independent

 claims would require some (but not all) parts of an inhaler—e.g., “a medicament

 canister,” “a dose counter,” etc.—but not a complete inhaler or the inhaler itself.

 See, e.g., ’289 patent, claim 1. The same is true for the dependent claims. If these

 independent claims did not require the inhaler itself, the dependent claims would

 require some parts of an inhaler without the corresponding structure of the inhaler.

 See, e.g., ’289 patent, claim 2 (“The inhaler as claimed in claim 1 wherein the

 medicament canister is movable relative to the dose counter.”).

       Second, Defendants’ argument that the preambles for the Inhaler Terms are

 not necessary to provide antecedent basis to the claim bodies is misplaced and

 incorrect. Def. Br. at 6-8. As an initial matter, antecedent basis is not required for

 a preamble phrase to be found limiting. Catalina, 289 F.3d at 808-09. Moreover,

 as explained in Teva’s Opening Brief and below, the preambles of the Inhaler Terms



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 for the ’289 and ’587 patents provide antecedent basis for terms in the bodies of the

 claims. See Teva Br. at 13-14. In their Opening Brief, Defendants quote the entirety

 of claim 1 of three of the patents in dispute (the ’289 patent; the ’808 patent; and the

 ’889 patent) to attempt to show the lack of antecedent basis. Def. Br. at 7-8. Notably

 absent is a recitation of claim 1 of the ’587 patent. Defendants argue that the claims

 of that patent do not contain the phrase “an inhaler for metered dose inhalation” in

 the body of the claims, Def. Br. at 7, but ignore that claim 1 of the ’587 patent

 explicitly relies on the inhaler limitation for antecedent basis, having a limitation to

 “the inhaler” at the end of the claim:

       1. An inhaler for metered dose inhalation, the inhaler comprising:

           a main body having a canister housing,

           a medicament canister, which is moveable relative to the canister
              housing and retained in a central outlet port of the canister
              housing arranged to mate with a canister fire stem of the
              medicament canister, and

           a dose counter having an actuation member having at least a portion
              thereof located in the canister housing for operation by
              movement of the medicament canister,

           wherein the canister housing has an inner wall, and a first inner wall
             canister support formation extending inwardly from a main
             surface of the inner wall,

           wherein the canister housing has a longitudinal axis X which passes
             through the center of the central outlet port, and

           wherein the first inner wall canister support formation, the actuation
             member, and the central outlet port lie in a common plane
             coincident with the longitudinal axis X such that the first inner


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              wall canister support formation protects against unwanted
              actuation of the dose counter by reducing rocking of the
              medicament canister relative to the main body of the inhaler.3

 As explained in Teva’s Opening Brief (at pp. 13-14), this antecedent basis requires

 interpreting the preamble as limiting. See Catalina, 289 F.3d at 808; ABS Glob., Inc.

 v. Cytonome/St, LLC, 84 F.4th 1034, 1040 (Fed. Cir. 2023). Defendants cite no

 authority for the notion that a claim must repeat the entirety of a phrase to provide

 antecedent basis—which is not the law. See, e.g., Bell Commc’ns Rsch., Inc. v.

 Vitalink Commc’ns Corp., 55 F.3d 615, 621 (Fed. Cir. 1995) (“said packet” referred

 back to preamble phrase “said packet including a source address and a destination

 address”).

       The parties’ agreed-upon constructions in the JCCS further prove the point.

 The parties have agreed on the constructions of three separate claim terms for the

 ’289 and ’587 patents that each refer to “the inhaler body.” To resolve potential

 disputes over the interpretation of the terms “canister housing,” “main surface of the

 inner wall,” and “inner wall” in the ’289 and ’587 patents, the parties have agreed

 upon constructions that explicitly reference “the inhaler body.” D.E. 111-1 (JCCS)

 at 3-4. The reference to “the inhaler” in these agreed-upon constructions of claim


 3
   Claim 1 of the ’587 patent includes nearly the same language as claim 1 of the ’289
 patent, and with the addition of the final clause “such that the first inner wall canister
 support formation protects against unwanted actuation of the dose counter by
 reducing rocking of the medicament canister relative to the main body of the
 inhaler.”

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 terms in the bodies of the respective independent and dependent claims is a reference

 to the preamble phrase “[a]n inhaler for metered dose inhalation” found in the

 preambles of independent claim 1 of the ’289 patent and independent claims 1 and

 12 of the ’587 patent. If Defendants were correct, and the preamble was not limiting,

 the claims would not be limited to an inhaler and references to “the inhaler” in the

 construction of these other terms would make no sense. The use of the definite

 article “the” in this context explicitly refers back to a previously-claimed limitation.

 ABS Glob., 84 F.4th at 1040 (“The use of the definite article, ‘the,’ means that the

 phrase ‘the sample stream’ refers back to earlier language as an antecedent. The

 antecedent language is ‘a sample stream’ in the preceding limitation . . . .”).

 Accordingly, the disputed preamble phrases of the Inhaler Terms provide antecedent

 basis for claim terms found in the bodies of both independent and dependent claims.4

       Third, Defendants overlook the patentable significance of the Inhaler Terms

 emphasized in the specification and prosecution history of the Asserted Patents. Def.

 Br. at 8-9. The purpose of the invention is to provide an accurate dose counter for

 an inhaler. To ignore that context, and construe the claims that explicitly recite an

 inhaler to not be limited to an inhaler makes no sense. The shared specification of



 4
    The references to “the inhaler body” for these agreed-upon constructions also
 establish “the important context” provided by the preamble. Lemoine, 2021 WL
 4199934, at *2. As noted above, because the preambles are “essential to understand
 . . . terms in the claim body,” they are limiting. Catalina, 289 F.3d at 808.

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 the Asserted Patents explains that “[t]he present invention aims to alleviate at least

 to a certain extent one or more of the problems of the prior art.” ’289 patent at 2:36-

 37.5 While Defendants are correct that the specification recognizes that “[i]nhalers

 incorporating dose counters have . . . become known,” Defendants ignore the

 problems identified for these prior art inhalers incorporating dose counters in the

 same section. Def. Br. at 8 (quoting ’289 patent at 1:55-56). These are problems

 which the claimed inventions helped solve. For instance, the specification explains

 that “some dose counters do not keep a particularly reliable count, such as if they are

 dropped onto a hard surface” and that “dosing becomes unreliable,” which is

 “potentially hazardous for the user.” ’289 patent at 1:52-54, 2:6-8. The Asserted

 Patents addressed these problems by, inter alia, “improv[ing] dose counters further

 and, in particular, . . . provid[ing] extremely accurate dose counters for manually-

 operated canister-type metered dose inhalers.” Id. at 2:9-12. The specification thus

 evidences the patentable significance of the Inhaler Terms—the very premise of the

 claimed inventions is accurately counting the doses of the drug in the inhaler. See

 Catalina, 289 F.3d at 809 (“[P]reamble language merely extolling benefits or

 features of the claimed invention does not limit the claim scope without clear



 5
  As noted in Teva’s Opening Brief, each of the four Asserted Patents share the same
 specification. Citations to the common specifications of these patents refer to the
 ’289 patent. Unless otherwise noted, identical disclosures appear in the other
 Asserted Patents.

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 reliance on those benefits or features as patentably significant.”).

       The prosecution history further establishes that the preambles for the Inhaler

 Terms are limiting. In response to a Final Office Action, Teva distinguished the

 claimed invention over the examiner’s rejection by emphasizing how the claimed

 inhaler is functionally better than the examiner’s suggestion because the examiner’s

 suggestion “would increase the airflow resistance of the inhaler and could affect the

 ability of users with reduced lung function . . . to draw air through the inhaler and

 inhale medicament effectively.” Pl. Ex. 8 (File History, U.S. Patent App. No.

 14/103,324, Mar. 7, 2016 Resp.) at 6-7.         Similarly, during an appeal of the

 examiner’s rejection during the prosecution of the ’808 patent, Teva distinguished

 the claimed invention over the prior art by, inter alia, explaining how the claimed

 invention “prevents undesirable movement of the counter display if the inhaler is

 dropped.” Pl. Ex. 15 (File History, U.S. Patent App. No. 15/262,818, May 21, 2018

 Appellant’s Brief) at 3, 7. In reversing the examiner’s rejection, and allowing the

 ’808 patent to issue, the Patent Trial and Appeal Board acknowledged that the

 applicant “describes the invention as relating to a metered dose inhaler” and that “the

 invention seeks to count how many doses of any inhaler have been used while not

 counting doses where the inhaler canister does not fire.” Pl. Ex. 16 (File History,

 U.S. Patent App. No. 15/262,818, Sep. 20, 2019 Patent Board Decision) at 2; see Pl.

 Ex. 17 (File History, U.S. Patent App. No. 15/262,818, Oct. 2, 2019 Notice of



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 Allowance) at 2. Teva relied on the features and benefits of the “inhaler” in the

 preamble as patentably significant to distinguish the examiner’s grounds for

 rejection. The prosecution history therefore provides an additional basis for why the

 preambles are limiting. Catalina, 289 F.3d at 808. For all of these reasons, the Court

 should reject Defendants’ argument and construe the Inhaler Terms as limiting.

              2.     The Inhaler Terms should be construed as containing an
                     active drug for inhalation into the lungs

       As for the proper construction of the Inhaler Terms, the parties dispute

 whether an inhaler contains an active drug. Consistent with the intrinsic and

 extrinsic record, Teva’s proposed constructions for the Inhaler Terms require that

 the claimed inhaler “contain[] an active drug capable of being dispensed via the

 inhaler to the lungs.” Defendants’ proposal consists entirely of adding the word

 “device” to the disputed term based on references to inhalers referred to as a “device”

 in the specification and prosecution history. Defendants’ proposal, however, is

 based on the flawed conclusion that references to an inhaler as a device mean the

 Inhaler Terms need not contain an active drug. That conclusion does not follow

 from that premise. As explained more below, the Inhaler Terms should not be

 construed to include an empty device as Defendants argue.

       Defendants ignore the claims in arguing for the proper construction of the

 Inhaler Terms. Def. Br. at 9-12. “[T]he claims themselves provide substantial

 guidance as to the meaning of particular claim terms” and “the context in which a


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 term is used in the asserted claim can be highly instructive.” Phillips v. AWH Corp.,

 415 F.3d 1303, 1314 (Fed. Cir. 2005) (en banc). As explained in Teva’s Opening

 Brief, this is true for the claims containing the Inhaler Terms. See Teva Br. at pp.

 16-17 (Inhaler Term 1); id. at 29-30 (Inhale Term 4); id. at 36-37 (Inhaler Term 6).

 By way of example, each of the claims containing the Inhaler Terms recite a “dose

 counter”—a dose counter that counts the doses of the active drug that remain in the

 inhaler. Additionally, the relevant claims of the ’289 and ’587 patents recite a

 “medicament canister,” which is part of the inhaler and contains a “medicament” or

 active drug.

       Casting aside Phillips’ requirement to consider the claims themselves,

 Defendants skip the claims and solely examine the specification and prosecution

 history. Phillips, 415 F.3d at 1314. But even the cited portions of the specification

 do not support Defendants’ position. Defendants provide a series of block quotes

 from the specification that they argue demonstrate that “the specification repeatedly

 refers to inhalers as ‘devices.’” Def. Br. at 9-10. What Defendants ignore is that

 these same citations support that the inhaler contains an active drug:

       “The dose counter must not count a dose when the canister has not fired
       since this might wrongly indicate to the user that a dose has been
       applied and if done repeatedly the user would throw away the canister
       or whole device before it is really time to change the device due to the
       active drug and propellant reaching a set minimum.” (’289 patent at
       2:20-25 (emphasis added).)




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       “Additionally, the canister must not fire without the dose counter
       counting because the user may then apply another dose thinking that
       the canister has not fired, and if this is done repeatedly the active drug
       and/or propellant may run out while the user thinks the device is still
       suitable for use according to the counter.” (’289 patent at 2:25-31
       (emphasis added).)

       “A drawback of self-administration from an inhaler is that it is difficult
       to determine how much active drug and/or propellant are left in the
       inhaler, if any, especially of the active drug and this is potentially
       hazardous for the user since dosing becomes unreliable and backup
       devices [are] not always available.” (’289 patent at 1:49-54 (emphasis
       added).)

 These same specification passages relied on by Defendants undercut their entire

 argument. While Defendants are correct that the specification contains references

 to inhalers as “devices,” those references do not describe a stand-alone, empty

 device but instead a device that contains an active drug. See Def. Br. at 9-10 (quoting

 ’289 patent at 1:49-54, 2:20-25, 2:25-31).

       Defendants’ citations to the prosecution histories fare no better. Defendants

 cite to three passages from the prosecution histories of the Asserted Patents that have

 references to the prior art inhalers and claimed inventions as “devices.” Def. Br. at

 10-11. Defendants’ citations to the prosecution histories suffer from the same defect

 as their citations to the specification—references to an inhaler as a device do not lead

 to the conclusion that the Inhaler Terms must not include an active drug. For

 instance, Defendants cite to the same response to a Final Office Action in the ’289

 patent file history discussed above and in Teva’s Opening Brief. Def. Br. at 10-11



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 (citing Def. Ex. 5).6 As noted above, in this response, Teva distinguished its claimed

 inhaler over the examiner’s suggestion by highlighting how the claimed inhaler

 improved the ability of users “to draw air through the inhaler and inhale medicament

 effectively.” Pl. Ex. 8 (File History, U.S. Patent App. No. 14/103,324, Mar. 7, 2016

 Resp.) at 6-7. Like the specification, the prosecution history refers to the claimed

 inhalers containing an active drug (i.e., “medicament”). Defendants’ own evidence

 supports that the common meaning of “inhaler” requires the presence of an active

 drug.

         While Defendants complain that Teva is proposing to read limitations into the

 claims, that just begs the question of what the Inhaler Terms “plainly and ordinarily

 mean” in the first place. The technical dictionary cited in Teva’s Opening Brief

 illustrates the common meaning of the claim term. Merriam-Webster’s Medical

 Desk Dictionary (2005) defines (i) “inhaler” as “a device by means of which

 usu[ally] medicinal material is inhaled” and (ii) “inhalation” as “the action of

 drawing air into the lungs . . .” and “material (as medication) to be taken in by

 inhaling.” Pl. Ex. 9 (Medical Desk Dictionary (2005)) at 396-97. The common

 meaning, exemplified by these dictionary definitions, reflects that an inhaler

 contains medicinal material even if the inhaler is also referred to as a “device.” One



 6
  Pl. Ex. 8 is the same portion of the file history of U.S. Patent App. No. 14/103,324
 as Def. Ex. 5.

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 does not exclude the other.

       Turning to Defendants’ arguments against Teva’s proposed construction, the

 parties’ dispute centers on what is the “plain and ordinary” meaning of the Inhaler

 Terms. Def. Br. at 11-12. Despite arguing that Teva’s constructions do not capture

 the plain and ordinary meaning of the Inhaler Terms, Defendants fail to offer any

 competing evidence regarding the plain and ordinary meaning of those terms. Def

 Br. at 9-12. Defendants’ argument that Teva’s constructions are not supported by

 evidence of lexicography or disavowal, Def Br. at 11, is a red herring. Lexicography

 and disavowal describe the circumstances in which a court may depart from a term’s

 plain and ordinary meaning. Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362,

 1365-66 (Fed. Cir. 2012). Those principles do not help Defendants because as

 explained above, Teva is not departing from the ordinary meaning. Rather, it is

 Defendants who are attempting such a departure, by proposing to construe the terms

 as not requiring an active ingredient. Thus, the onus is on Defendants, not Teva, to

 offer evidence of lexicography or disavowal. Defendants’ Opening Brief offers no

 such arguments.

       Defendants’ remaining arguments (at p. 12) focus on the specification,

 without (again) any analysis of the claim language itself. As noted above and in

 Teva’s Opening Brief, the shared specification repeatedly refers to the claimed

 inhaler as containing an active drug. To the extent Defendants propose construing



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 the Inhaler Terms to cover only an empty inhaler, this would result in the exclusion

 of the preferred embodiment. “Claim interpretations that do not read on the preferred

 embodiment are ‘rarely, if ever, correct and would require highly persuasive

 evidentiary support.’” Nat’l Steel Car, Ltd. v. Can. Pac. Ry., Ltd., 357 F.3d 1319,

 1336 n.19 (Fed. Cir. 2004) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d

 1576, 1583 (Fed. Cir. 1996)).

       Defendants’ argument that the specification makes clear that “an active drug”

 is not a necessary component of an inhaler is based on a misreading of the

 specification. Defendants first point to the following quote from the “Background

 of the Invention” in the specification: “[m]etered dose inhalers can comprise a

 medicament-containing pressurised canister containing a mixture of active drug and

 propellant.” Def Br. at 12 (quoting ’289 patent at 1:27-29 (emphasis added)).

 Defendants are incorrect that the word “can” in this passage signifies that the active

 drug is not required in an inhaler. Id. What “can” but need not be included in an

 inhaler is a pressurized canister. As the specification of the Asserted Patents, and

 the references cited therein, make clear, there are different kinds of inhalers and not

 all require a pressurized canister. For example, EP-A-1330280 (“EP ’280”), which

 is incorporated by reference in the specification,7 explains: “Existing types of


 7
  The shared specification incorporates by reference EP-A-1330280. See, e.g., ’289
 patent at 20:17-19. Through incorporation by reference, the contents of EP ’280 are
 part of the shared specification for the Asserted Patents. See Cook Biotech Inc. v.

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 medicament dispensing inhalers include pressurized propellant inhalers, aqueous

 solution inhalers, and dry powdered inhalers.” Pl. Ex. 18 (EP ’280) at 1:14-17; see

 id. at 1:18-54 (describing examples of different types of inhalers disclosed by other

 references); see also ’289 patent at 1:19-23 (“The invention is particularly applicable

 to metered dose inhalers including dry power medicament inhalers, breath actuated

 inhalers and manually operated metered dose medicament inhalers.”); ’289 patent at

 20:14-17 (“FIGS. 21 and 22 show a preferred embodiment in accordance with the

 invention of an inhaler 510 for dispensing a dry-powdered medicament in metered

 doses for patient inhalation.”). Contrary to Defendants’ argument, the context of the

 specification as a whole demonstrates that the claimed inhalers require the presence

 of an active drug, even though there are different types of inhalers and not all of

 them require a pressurized canister.

       Defendants’ two other citations to the specification likewise fail to support

 their argument that an active drug is not required. Def Br. at 12. Defendants rely

 on two passages from the “Background of the Invention” that acknowledge that a

 difficulty with inhalers is that the patient cannot see how much “if any” drug or

 propellant remains in the inhaler (’289 patent at 1:49-54) and that, without an


 Acell, Inc., 460 F.3d 1365, 1375 (Fed. Cir. 2006) (“Incorporation by reference
 provides a method for integrating material from various documents into a host
 document . . . by citing such material in a manner that makes clear that the material
 is effectively part of the host document as if it were explicitly contained therein.”
 (citation omitted)).

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 accurate dose counter, the active drug “may run out” without the patient knowing

 (’289 patent at 2:25-31). These passages do not suggest the claims should be

 interpreted to cover completely empty inhalers. They do not exemplify an inhaler

 that never had an active drug in it (i.e., always empty) or even an inhaler in which

 all active drug was completely expelled (i.e., became fully empty). Indeed, the

 specification explains that “run out” simply means that the inhaler is not “suitable

 for use.” Id. at 2:25-31. That would occur if the dose of drug were reduced from

 the labeled amount—the word “empty” is not used at all in the specification.

 Compare Pl. Ex. 6 (03/2012 ProAir® HFA Label) (noting that even when the dose

 counter reads zero “the canister is not completely empty and will continue to

 operate”). Instead, these passages highlight the very problems that the claimed

 inventions solved by accurately counting the doses of the drug administered from an

 inhaler.

       Finally, Defendants disregard the support found in the intrinsic and extrinsic

 record that the active drug be “capable of being dispensed via the inhaler to the

 lungs.” Def. Br. at 12. As discussed above, the common meaning of “inhaler”, as

 exemplified by dictionary definitions, confirms Teva’s proposed construction that

 the inhaler contains medicinal material that is drawn into the lungs through the

 inhaler. Pl. Ex. 9 (Medical Desk Dictionary (2005)) at 396-97. The specification

 further explains that the inhaler dispenses the active drug for inhalation. For



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 example, the specification explains that “[t]he user can, when readying the inhaler

 12 for first use, prime the inhaler by depressing the canister . . . [to] indicat[e] that

 200 doses are remaining to be dispensed from the canister 20 and inhaler 12.” ’289

 patent at 17:4-10; see also id. at 20:14-17 (referring to “dispensing” the

 “medicament in metered doses for patient inhalation”).

       References incorporated by reference and cited in the specification also

 support Teva’s construction. EP ’280, incorporated by reference in the specification,

 explains that “[m]etered dose medicament inhalers are well known for dispensing

 medicament to the lungs of a patient, for treating asthma for example.” Pl. Ex. 18

 (EP ’280) at 1:10-14. EP ’227, cited in the specification, contains the same

 statement. Pl. Ex. 10 (EP ’227) at 1:24-26.

       The prosecution history further supports Teva’s proposed construction. As

 discussed above, Teva distinguished its claimed invention over the examiner’s

 suggestion by highlighting how the claimed inhaler improved the ability of users “to

 draw air through the inhaler and inhale medicament effectively.” Pl. Ex. 8 (File

 History, U.S. Patent App. No. 14/103,324, Mar. 7, 2016 Resp.) at 6-7. This

 statement demonstrates that the claimed inhaler contains active drug that is

 effectively inhaled through the inhaler by the user.

                                      *     *      *

       This Court should reject Defendants’ attempts to construe claims explicitly



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 reciting an inhaler to not be limited to inhalers. Defendants’ argument ignores the

 claims, the specification, and the prosecution history. Instead, the Court should

 construe the Inhaler Terms, consistent with the common meaning and intrinsic

 record, as both limiting and as containing an active drug capable of being dispensed

 via the inhaler to the lungs.

       B.      The Dose Counter Terms are limiting, and Teva’s proposed
               constructions should be adopted

       The disputed Dose Counter Terms (with the numbering from the JCCS) are

 as follows:

             Term 3: “A dose counter for an inhaler” (’808 patent, claim 1)

             Term 5: “An incremental dose counter for a metered dose inhaler”
              (’889 patent, claim 1)

 Like the Inhaler Terms, the parties dispute (1) whether these preambles are limiting

 and (2) if so, the proper construction of the disputed term. For each term, the

 preamble is limiting and the Dose Counter Term should be construed to require the

 presence of an inhaler.

               1.    The disputed phrases in the preambles are limiting

       The Dose Counter Terms are contained in the same preambles as some of the

 Inhaler Terms, and the same reasons require interpreting the terms as limiting.

 Defendants do not raise any additional arguments for why the Court should find

 these preamble phrases not limiting beyond incorporating by reference the same



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 reasons they discussed with respect to Inhaler Terms 4 and 6. Def. Br. at 14.

 Accordingly, for the same reasons discussed above and in Teva’s Opening Brief,

 these preamble phrases are limiting and require construction.

              2.     The Dose Counter Terms should be construed to require the
                     presence of an inhaler

       For both Dose Counter Terms, Teva’s proposed construction construes the

 term “for” to mean “used in connection with,” consistent with the plain meaning of

 that term. Defendants have not proposed a construction that contests that the claimed

 dose counters of the ’808 and ’889 patents are “for”—or, require the presence of—

 an inhaler. Nor could Defendants. The plain meaning of the claim language requires

 an inhaler to be present. Indeed, the specification does not describe the claimed dose

 counters being used in connection with anything other than an inhaler. The claimed

 invention is a dose counter for an inhaler, not a dose counter for an injector pen or

 any other structure. Without an inhaler, which contains an active drug, there would

 be no doses to count for the dose counter. Instead, Defendants argue that Teva’s

 proposed construction improperly “require[s] a specific use of the dose counter in

 the claims themselves.”     Def. Br. at 15 (emphasis added). Defendants’ only

 argument for why Teva’s construction should be rejected rests entirely on a

 misreading of Union Oil Co. of California v. Atlantic Richfield Co., 208 F.3d 989

 (Fed. Cir. 2000).

       Contrary to Defendants’ assertion, Union Oil supports Teva’s proposed


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 construction for the Dose Counter Terms. First, Teva’s construction would not

 convert a composition claim into a method claim as Defendants argue. Rather, the

 proposed construction addresses the structure required by the claims. In the context

 of the Asserted Patents, the problem to be solved concerns the accuracy of a dose

 counter integrated into an inhaler. The claims should be construed accordingly.

 Union Oil, 208 F.3d at 995-96 (finding “extensive support in the specification” based

 in part on “the problem that their invention addressed”).

       Second, the Federal Circuit’s analysis in Union Oil supports adopting Teva’s

 proposed construction of a dose counter used in connection with an inhaler. As the

 Federal Circuit explained, the claims at issue in Union Oil “specifie[d] fuels for an

 ‘automotive engine,’ not an aviation engine.” Id. at 995. The court thus held that the

 claims were directed to “cover only a narrow class of fuel compositions, namely

 only standard automotive gasoline.” Id. On this basis, the Federal Circuit affirmed

 the holding that prior art “aviation and racing fuels that allegedly invalidate the

 [asserted] claims do not anticipate because they do not contain each and every

 limitation of the claims.” Id. at 996. The Federal Circuit thus limited the claims to

 the structures for which the gasoline was claimed. The same is true here—the claims

 require a dose counter for an inhaler. As in Union Oil, the structure for which the

 dose counter is claimed (an inhaler) should be applied as a substantive limitation of

 the claims.



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       C.     Teva’s proposed constructions for the Canister Terms should be
              adopted

       The parties dispute the plain and ordinary meaning of the two Canister

 Terms—Term 2 “medicament canister” (’289 patent, claims 1, 2; ’587 patent, claims

 1, 2, 12) and Term 7 “canister” (’889 patent, claim 1). Teva’s proposed construction

 for the Canister Terms—“a canister containing an active drug capable of being

 dispensed via the inhaler to the lungs”—reflects the plain and ordinary meaning of

 the terms, and therefore should be adopted.          Defendants’ proposal ignores

 compelling intrinsic evidence to the contrary and runs afoul of black-letter claim

 construction law.

       The crux of Defendants’ argument is that “[t]he plain and ordinary meaning

 of ‘canister’ cannot depend on its contents.” Def. Br. at 19. Defendants’ argument,

 however, contravenes well-established law regarding the ordinary meaning of a

 claim term. Contrary to Defendants’ approach, “[w]e cannot look at the ordinary

 meaning of the term . . . in a vacuum.” Medrad, Inc. v. MRI Devices Corp., 401 F.3d

 1313, 1319 (Fed. Cir. 2005). Rather, “[t]he words of a claim are generally given

 their ordinary and customary meaning as understood by a person of ordinary skill in

 the art in question at the time of the invention when read in the context of the

 specification and prosecution history.” Laryngeal Mask Co. Ltd. v. Ambu, 618 F.3d

 1367, 1370 (Fed. Cir. 2010); see also Medrad, 401 F.3d at 1319 (“[W]e must look

 at the ordinary meaning in the context of the written description and the prosecution


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 history.”). Defendants disregard that the POSA “is deemed to read the claim term

 not only in the context of the particular claim in which the disputed term appears,

 but in the context of the entire patent, including the specification.” Phillips, 415

 F.3d at 1313. Defendants’ suggestion that a “claim limitation to a ‘water bottle’

 would be directed to the bottle itself, not its contents” exemplifies the issue. Def.

 Br. at 18. Specifically, Defendants’ narrow focus on the term itself without any

 context contravenes the requirement that the claim term must be viewed in the

 context of the entire intrinsic record.8

       When properly viewing the disputed terms “medicament canister” and

 “canister” in view of the claims, specification, and prosecution history, it is clear

 that the plain and ordinary meaning of these terms is not directed just to the canister

 itself but also its contents. Starting with the claims, Defendants are wrong that the

 claims do not describe the contents of the canister as containing an active drug. The

 disputed term “medicament canister” itself evidences that the canister contains a

 medicament or an active drug. As explained in Teva’s Opening Brief, the parties’

 agreed-upon construction of the claim term “main surface of the inner wall” (’289


 8
   Defendants’ construction of the hypothetical “water bottle” claim limitation as
 limited to the bottle itself falls apart even when improperly assessing it without
 examining any hypothetical intrinsic record. For instance, Merriam-Webster defines
 “water bottle” as “a small bottle containing water for drinking.” See Merriam-
 Webster.com            Dictionary,           Merriam-Webster, https://www.merriam-
 webster.com/dictionary/water%20bottle (last visited Sep. 27, 2024). This definition
 of “water bottle” is directed to the bottle and its contents (water).

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 patent, claim 1; ’587 patent, claims 1, 12) specifies that the medicament canister will

 “expel medicament.” D.E. 111-1 (JCCS) at 3-4. Defendants’ agreement that the

 medicament canister will “expel medicament” requires that the canister contains a

 medicament.

       The surrounding claim language confirms that the canister must contain an

 active drug that is capable of being dispensed via the inhaler to the lungs. Phillips,

 415 F.3d at 1314 (“[T]he context in which a term is used in the asserted claim can

 be highly instructive.”). As explained above and in Teva’s Opening Brief, each of

 these claims is limited to an “inhaler.” As such, the active drug in the canister

 likewise must be limited to being capable of being dispensed via that inhaler. Other

 claim language supports the same. For instance, the relevant independent claims of

 the ’289 and ’587 patents require a medicament canister that has a “canister fire

 stem,” which fires active drug from the canister. Teva’s construction reflects the

 plain meaning of the claim language.

       Contrary to Defendants’ assertions, the specification also describes that the

 contents of the canister contain an active drug capable of being dispensed via the

 inhaler to the lungs. For example, the specification states that the “the valve stem

 block 40 has a passageway 42 leading to a nozzle 44 for directing the contents of

 the canister 20, namely active drug and propellant, towards an air outlet 46 of the

 inhaler main body 12.” ’289 patent at 12:26-29 (emphasis added). The specification



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 also describes that a patient can “prime the inhaler” to indicate that “200 doses are

 remaining to be dispensed from the canister 20 and inhaler 12.” Id. at 17:4-10.

 These passages demonstrate that the contents of the canister—an active drug—are

 dispensed from the inhaler.

       Defendants put forward the same arguments for the Canister Terms as they

 did with the Inhaler Terms, relying on the same citations to the specification. Def

 Br. at 19. These arguments fail for the Canister Terms for the same reasons

 discussed above with respect to the Inhaler Terms in Section II.A.2.

       References incorporated by reference and cited in the specification further

 support Teva’s construction.   These references provide additional examples of the

 active drug in the canister being capable of being dispensed via the inhaler to the

 lungs. See Pl. Ex. 18 (EP ’280) at 1:10-14 (“Metered dose medicament inhalers are

 well known for dispensing medicament to the lungs of a patient, for treating asthma

 for example.”); see also Pl. Ex. 10 (EP ’227) at 1:24-26. Similarly, cited reference

 WO ’552 states that “[t]he medicament may be any medicament that is suitable to

 be delivered to a patient via a metered-dose inhaler.” Pl. Ex. 12 (WO ’552) at 13:28-

 29. WO ’552 then lists examples of such medicaments as follows:

       In particular medicaments for the treatment of a wide variety of
       respiratory disorders are delivered in this manner including anti-
       allergic agents (e.g. cromoglycate, ketotifen and nedocromil), anti-
       inflammatory steroids (e.g. beclomethasone dipropionate, fluticasone,
       budesonide, flunisolide, ciclesonide, triamcinolone acetonide and
       mometasone furoate); bronchodilators such as: β2-agonists (e.g.

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       fenoterol, formoterol, pirbuterol, reproterol, salbutamol, salmeterol
       and terbutaline), non-selective β-stimulants (e.g. isoprenaline), and
       xanthine bronchodilators (e.g. theophylline, aminophylline and choline
       theophyllinate); and anticholinergic agents (e.g. ipratropium bromide,
       oxitropium bromide and tiotropium).

 Id. at 13:29-14:6 (emphasis added). This list includes a variety of medicaments that

 can be dispensed via an inhaler, including the drug “salbutamol,” which is another

 name for the drug albuterol.      See Pl. Ex. 6 (03/2012 ProAir® HFA Label)

 (“Albuterol sulfate is the official generic name in the United States, and salbutamol

 sulfate is the World Health Organization recommended generic name.”).

       Finally, the prosecution history likewise supports Teva’s proposed

 construction. As discussed above, Teva distinguished its claimed invention over the

 examiner’s suggestion by emphasizing how the claimed inhaler improved the ability

 of users “to draw air through the inhaler and inhale medicament effectively.” Pl. Ex.

 8 (File History, U.S. Patent App. No. 14/103,324, Mar. 7, 2016 Resp.) at 6-7. The

 prosecution history demonstrates that the active drug in the canister must be capable

 of being dispensed via the inhaler to the lungs.

                                    *      *        *

       Defendants’ proposal and arguments improperly assess the Canister Terms in

 a vacuum, divorced from the intrinsic record. Teva’s proposed construction, on the

 other hand, reflects the plain and ordinary meaning of these terms. In view of the

 intrinsic record as a whole, a POSA would understand the plain and ordinary



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   meaning of the Canister Terms to mean a canister containing an active drug capable

   of being dispensed via the inhaler to the lungs.

III.     CONCLUSION

         For the foregoing reasons and those expressed in its Opening Brief, Teva

   respectfully requests that the Court adopt its proposed constructions for each of the

   disputed terms and reject Defendants’ proposals.




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  OF COUNSEL:                          /s/ Liza M. Walsh
                                       Liza M. Walsh (lwalsh@walsh.law)
  Daryl L. Wiesen                      Selina M. Ellis (sellis@walsh.law)
  (DWiesen@goodwinlaw.com)             Christine P. Clark (cclark@walsh.law)
  Christopher T. Holding               WALSH PIZZI O’REILLY FALANGA
  (CHolding@goodwinlaw.com)            LLP
  Louis L. Lobel                       Three Gateway Center
  (LLobel@goodwinlaw.com)              100 Mulberry Street, 15th Floor
  Thomas V. McTigue IV                 Newark, New Jersey 07102
  (TMcTigue@goodwinlaw.com)            Tel: (973) 757-1100
  GOODWIN PROCTER LLP
  100 Northern Avenue                  Attorneys for Plaintiffs Teva Branded
  Boston, MA 02210                     Pharmaceutical Products R&D, Inc.,
  (617) 570-1000                       Norton (Waterford) Ltd., and Teva
                                       Pharmaceuticals USA, Inc.
  Natasha E. Daughtrey
  (NDaughtrey@goodwinlaw.com)
  GOODWIN PROCTER LLP
  601 South Figueroa Street
  Los Angeles, CA 90017
  (213) 426-2642

  Kathryn S. Kayali
  (kkayali@wc.com)
  WILLIAMS & CONNOLLY LLP
  680 Maine Avenue, S.W.
  Washington, DC 20024
  (202) 434-5000




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